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                                                         Exhibit A to the Complaint
Location: Manahawkin, NJ                                                                                 IP Address: 73.194.211.80
Total Works Infringed: 25                                                                                ISP: Comcast Cable
 Work      Hashes                                                               UTC              Site           Published     Registered   Registration
 1         Info Hash: B30A24C236439A9B2C65C9234830190BD3026085                          08-27-   Tushy          10-23-2017    12-04-2017   PA0002098018
           File Hash:                                                                     2022
           E190CFF045FD226A2DC42A0014C64775CD37FE54BE08F0806F0D3BDE27234259           03:44:39
 2         Info Hash: 45BD7EB6EC3A335403A10A66A52919DBE8FD0208                          08-06-   Blacked        02-14-2020    03-18-2020   PA0002241448
           File Hash:                                                                     2022
           47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B           17:44:34
 3         Info Hash: 6AECD64092F17E9085560DDF13411F5C617EA4B6                          08-05-   Tushy          11-28-2021    02-14-2022   PA0002335497
           File Hash:                                                                     2022
           610911B0A03EFBB6F914E6246EC1B563648E7485563C7EF78A4D2655F2D0B9DE           21:43:28
 4         Info Hash: A5F4391F9483D35C3A54187A6AC246A376558B67                          07-30-   Blacked        07-31-2019    08-22-2019   PA0002195511
           File Hash:                                                                     2022   Raw
           181A5A85F913157A0303150E1B0C7ECC81F7A63FC42BA1071B5236AC52A0432E           00:02:21
 5         Info Hash: E2950618338DA1ED4816C848384E4BE5FA82F99E                          07-24-   Blacked        12-23-2019    01-03-2020   PA0002219636
           File Hash:                                                                     2022   Raw
           3DECF0AAB8057B9C37D101B6C483E9EF52900F7E0F64F19DB44D782FD9354CF9           22:11:33
 6         Info Hash: D1A20BB943E213244AEB42BC43F34BE72E46F6DB                          03-10-   Vixen          07-09-2021    08-20-2021   PA0002312016
           File Hash:                                                                     2022
           DA8F290222976E6C2CED7C5FD6A0ACE756D4D2525F6D7C92A66C8EE2A284CA0E           23:14:19
 7         Info Hash: 42F4FC72BFE526D9442ABCD62F01232B062FAF12                          03-10-   Blacked        12-12-2020    01-04-2021   PA0002277035
           File Hash:                                                                     2022
           70D50A2F962E9E69D64450F1255A37496A84DC51CBC070FC62FD9604E9F44960           23:07:33
 8         Info Hash: 639F7366853B85815E75CEBDB046E48402E59ACD                          03-03-   Blacked        01-08-2022    01-17-2022   PA0002330123
           File Hash:                                                                     2022
           837885507F3F58246EDBA7D8357B446F958E62FBDB06477F17E6ADD87F91C2D3           21:10:47
 9         Info Hash: 2BE97DFA49EF767D94E4040239C494349D409C46                          02-28-   Blacked        01-30-2021    02-26-2021   PA0002283695
           File Hash:                                                                     2022
           EBECDE01923BC5F8B50C0700F6BD81D8A5DCE5C823A61C812B675ED1D9613424           23:50:40
 10        Info Hash: 8964815B3EE407A3EBFECD69C9A66DF0EFAA05A3                          02-13-   Vixen          10-31-2019    11-15-2019   PA0002211917
           File Hash:                                                                     2022
           A404C4B8F66F1C6C6DA9E343BD7284ACCF468243D2AE64E4053DD9675ADF39B3           20:04:02
 11        Info Hash: 91C272F5FF3F2E58D24C946022CB8ACDAFAB46F4                          02-13-   Vixen          02-13-2019    03-11-2019   PA0002158413
           File Hash:                                                                     2022
           447C527955F6E538FE6D150312C4E4B5FF83E1EDF58AD42BE5A743D0481BAC0C           18:52:04
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 5540C89E5B872A3EB29D38D7D6C59134B3342F74                   02-10-   Vixen     11-30-2019   12-17-2019   PA0002217669
       File Hash:                                                              2022
       82122CF99D24467F82ADC0C7F5A830B00FD0166A2DACD7D573A461C90D4BA438    22:54:19
13     Info Hash: EDAA460FA5995B02EF111997AAC1E210CA5669F6                   02-06-   Tushy     04-06-2017   06-05-2017   PA0002050769
       File Hash:                                                              2022
       0829DF93B4275DBD9530B05670C1363A5DE11847C031BCDA13AC68A958BCA495    23:26:19
14     Info Hash: 9606A2BEBD2ED49AF47787169BF9B73A4A1C9CDC                   12-12-   Blacked   08-20-2019   09-13-2019   PA0002200701
       File Hash:                                                              2021   Raw
       351673D7BB0532484059A5C5E6C65500889E456A63424B325E0A00A47AAA81C3    17:43:30
15     Info Hash: DD13D320C0879681AFA6F7DD38CCD9A322401B15                   09-17-   Blacked   03-28-2020   04-15-2020   PA0002246108
       File Hash:                                                              2021
       C2C5F23864CB993A3B84F61357D840D411387AA38ED841974D636B320E2CF248    17:02:47
16     Info Hash: 605C9418209F27737FD241EF51A32CBFABAAB038                   09-17-   Vixen     03-25-2019   04-16-2019   PA0002187577
       File Hash:                                                              2021
       829D6412707F891385AF6D5D9F69B5AD482B7B98A9A32076BD46AF58D55F6B74    15:56:52
17     Info Hash: 4063F3C7D41E562C79095D2F02E049712A40B81F                   05-29-   Blacked   06-01-2019   07-17-2019   PA0002188304
       File Hash:                                                              2021   Raw
       B0F0009F19D41BD46B5A03B29445774EF31FF93DC7FB948BD9E8E2DFFC0FD610    23:28:10
18     Info Hash: 5AF65FC2F36FDE10482D4C645E22493BBB1E7A41                   05-29-   Blacked   05-25-2020   06-22-2020   PA0002245633
       File Hash:                                                              2021   Raw
       7D3192E9D7806075BD7916816DC9771E30741ACC903282A22FEEB98033F789D4    23:22:53
19     Info Hash: 654CFBA775433926717A3E0D58C90196F0413460                   05-29-   Vixen     10-16-2020   11-18-2020   PA0002272621
       File Hash:                                                              2021
       BE957B752D7675E37648F2D81C3040F9E272C6D4588CBDFAB6E52E785DD954C9    20:17:06
20     Info Hash: DB0A6C09AFAD8158D7C66AA690789A4FFF1E420F                   05-29-   Blacked   12-07-2020   12-28-2020   PA0002269082
       File Hash:                                                              2021   Raw
       16C7BFE26C8FD0235DF2F746F947F27F88764464E2AA3A5129A6ADAA2B4B8F67    19:55:18
21     Info Hash: FE14ADE82FF2485EC91596EA5FFA5176B048BE2B                   04-02-   Blacked   07-21-2018   09-01-2018   PA0002119592
       File Hash:                                                              2021   Raw
       C161AAA66AB37090297EE2D9AC234DCF2A078F7712FCFC4EBCB65E5B51942831    22:35:03
22     Info Hash: 143ED56E751B662F727B52D79C441FBCC16BB177                   04-02-   Blacked   12-20-2018   02-02-2019   PA0002154970
       File Hash:                                                              2021
       6E468AF507E2B8CA74CF0E8AB4CC91C10A7F4D5FFA43B66EE393ED88FB48F9FD    22:16:10
23     Info Hash: 3B6198833B8CF16DAE7D8E122C3AD5AD62507AAD                   04-02-   Vixen     09-18-2020   09-29-2020   PA0002258680
       File Hash:                                                              2021
       D1F3EF62AA81DCC45B49CE454C8E234C6C5668D49212ACF906FAAFCE9AE72D1B    22:05:24
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Work   Hashes                                                             UTC       Site      Published    Registered   Registration
24     Info Hash: 3C6D5785FDC3A9947EA11D9923048076FDE43B96                   06-14- Blacked   12-28-2018   02-02-2019   PA0002155006
       File Hash:                                                              2020 Raw
       CC0ECD3F17E3824A92E704EF79A7ED2101BF86232CBE14F2E24D445CD091E6AB    00:31:22
25     Info Hash: CE82CC198C8C8E9C2B08EBCE6BF6E8654CB36F5D                   06-14- Vixen     04-14-2019   05-28-2019   PA0002200761
       File Hash:                                                              2020
       761610DBACB2CEA13E7F3867B18EC05C49720502C12A5339948AE7F634895D77    00:25:19
